Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.1 Filed 09/26/19 Page 1 of 17

+

\

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISTON

Case:2:19-cr-20652

UNITED STATES OF AMERICA Judge: Lawson, David M.
MJ: Grand, David R.

Filed: 09-26-2019 At 03:47 PM

 

V. INDI USA V. LETKO, ETAL. (AF)
D-1 JAMES LETKO, VIO.: 18 U.S.C. § 1349
D-2 STEVEN KING, 18 U.S.C. § 1347
D-3 RAMI LAZEKI, 18 U.S.C. § 2
D-4 PATRICIA FLANNERY, 18 U.S.C. § 981
D-5 KATHERINE PETERSON 18 U.S.C. § 982

Defendants.
f
INDICTMENT

THE GRAND JURY CHARGES:
GENERAL ALLEGATIONS
At all times relevant to this Indictment:
The Medicare Program

l. The Medicare program (“Medicare”) was a federal health care program
providing benefits to persons who were 65 years of age or older or disabled.
Medicare was administered by the Centers for Medicare and Medicaid Services
(“CMS”), a federal agency under the United States Department of Health and
Human Services. Individuals who received benefits under Medicare were referred

to as Medicare “beneficiaries.”
 

Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.2 Filed 09/26/19 Page 2 of 17

2. Medicare covered different types of benefits and was separated into
different program “parts.” Medicare Part D subsidized the cost of prescription drugs
for Medicare beneficiaries in the United States. Generally, Medicare Part D covered
part or all of the costs of prescription drugs dispensed to a Medicare beneficiary if,
among other requirements, the prescription drugs were medically necessary and
ordered by a physician.

3. In order to receive Medicare Part D benefits, a beneficiary enrolled in
one of several Medicare drug plans. Medicare drug plans were operated by private
health care insurance companies approved by Medicare. Those companies were
often referred to as drug plan “sponsors.” A beneficiary in a Medicare drug plan
could fill a prescription at a pharmacy and use his or her plan to pay for some or all
of the prescription drugs.

4, Medicare, through CMS, compensated the Medicare drug plan sponsors
for providing prescription drug benefits to beneficiaries. Medicare paid the sponsors
a monthly fee for each Medicare beneficiary of the sponsors’ plans. Such payments
were called capitation fees. The capitation fee was adjusted periodically based on
various factors, including the beneficiary’s medical conditions. In addition, in some
cases where a sponsor’s expenses for a beneficiary’s prescription drugs exceeded
that beneficiary’s capitation fee, Medicare reimbursed the sponsor for a portion of

those additional expenses.

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelID.3 Filed 09/26/19 Page 3 of 17

Pharmacy Benefit Managers

5. Pharmacy benefit managers (“PBMs”) managed prescription drug
benefits provided by Medicare (through Medicare drug plan sponsors). PBMs
received, adjudicated, and paid claims on behalf of the health care benefit programs.

6. After a pharmacy dispensed a prescription drug to a beneficiary or
member, the pharmacy submitted a claim, typically electronically, to the PBM acting
on behalf of the specific health care benefit program. The PBM, on behalf of the
health care benefit program, reimbursed the pharmacy, typically electronically,
through direct deposits into accounts held, and previously identified, by the
pharmacy.

7. CVS Caremark, and Express Scripts were two of the several PBMs that
managed prescription drug benefits for Medicare through Medicare drug plan
sponsors.

8. CVS Caremark processed and adjudicated claims in Arizona.
OptumRx and Express Scripts processed and adjudicated claims outside the state of
Michigan.

9. During the period of this indictment, the AlC Pharmacies were parties

to provider agreements (directly or indirectly) with one or more PBMs.

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.4 Filed 09/26/19 Page 4 of 17

The Entities

10. A1C Holdings, LLC (“A1C”) was a Florida limited liability company
located at 3660 Enterprise Way, Miramar, FL 33025.

11. All American Medical Supplies, LLC (‘AAMS”) was a Florida
limited liability company located at 3640 Enterprise Way, Miramar, FL 33025.

The Pharmacies (collectively “A1lC Pharmacies”)

12. Great Lakes Medical Pharmacy d/b/a All American Medical Pharmacy
(“AAMP”) was a pharmacy and Michigan limited liability company located at
23247 Pinewood Street, Suite 100, Warren, MI 48091.

13. Heartland Medical, LLC (“Heartland”) was a pharmacy and Kansas
limited liability company located at 7955 Flint Street, Lenexa, Kansas 48091.

14. Heart of America, LLC (“HOA”) was a pharmacy and Missouri limited
liability company located at 4338 East 142™ Street, Grandview, Missouri 64030.

15. Hudgins Pharmacy INC. (“HUDGINS”) was a Virginia pharmacy
located at 256 Main Street, Mathews, Virginia 23109.

16. Beta Discount Pharmacy and Health Services (“Beta”) was a Georgia
pharmacy, located at 776 Sandtown Road, SW, Marietta, Georgia 30008.

17. Big Bend Pharmacy, LLC (“Big Bend”) was a pharmacy and Tennessee

limited liability company, located 6045 East Shelby Drive, Suite A, Memphis,

Tennessee 38141.

 

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.5 Filed 09/26/19 Page 5 of 17

18. HCP Pharmacy, LLC d/b/a Steeplechase (“Steeplechase”) was a Texas

pharmacy, located 10694 Jones Road, Suite 115, Houston, Texas 77065.

The Defendant

19. Defendant JAMES LETKO, a resident of Hunterdon County, New
Jersey, was the Chief Executive Office (“CEO”) of AIC.

20. Defendant STEVEN KING, a resident of Broward County, Florida, was
the Chief Compliance Officer (“CCO”) of AIC.

21. Defendant RAMI LAZEKI, a resident of Wayne County, Michigan, was
the pharmacist in charge (PIC) at AAMP.

22. Defendant PATRICIA FLANNERY, a resident of Northhampton,
County, New Jersey, was an employee of A1C.

23. Defendant KATHERINE PETERSON, a resident of Hunterdon County,
New Jersey, was an employee of AIC.

COUNT 1

Conspiracy to Commit Health Care Fraud and Wire Fraud
(18 U.S.C. § 1349)

24. Paragraphs | through 23 of the General Allegations section of this

Indictment are re-alleged and incorporated by reference as though fully set forth

herein.

 

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.6 Filed 09/26/19 Page 6 of 17

25.

From at least in or around the end of 2013, and continuing through in

or around the end of 2018, the exact dates being unknown to the Grand Jury, in

Macomb County, in the Eastern District of Michigan and elsewhere, JAMES

LETKO, STEVEN KING, RAMI LAZEKI, PAFRICIA FLANNERY AND

KATHERINE PETERSON and others did willfully and knowingly combine,

conspire, confederate, and agree to commit certain offenses against the United

States, that is:

(a)

(b)

to violate Title 18, United States Code, Section 1347, that is, to
knowingly and willfully execute a scheme and artifice to defraud health
care benefit programs affecting commerce, as defined in Title 18,
United States Code, Section 24(b), that is, Medicare and Medicare drug
plan sponsors, and to obtain, by means of materially false and
fraudulent pretenses, representations, and promises, money and
property owned by, and under the custody and control of, said health
care benefit programs, in connection with the delivery of and payment
for health care benefits, items, and services; and

to violate Title 18, United States Code, Section 1343, that is, to
knowingly and with the intent to defraud, devise and intend to devise a

scheme and artifice to defraud and to obtain money and property by

means of materially false and fraudulent pretenses, representations, and

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.7 Filed 09/26/19 Page 7 of 17

promises, knowing that the pretenses, representations, and promises
were false and fraudulent when made, and did knowingly transmit and
cause to be transmitted, by means of wire communication in interstate
commerce, writings, signs, signals, pictures, and sounds for the purpose
of executing such scheme and artifice.
Purpose of the Conspiracy
26. It was a purpose of the conspiracy for JAMES LETKO, STEVEN
KING, RAMI LAZEKI, PATRICIA FLANNERY AND KATHERINE PETERSON
and others to unlawfully enrich themselves and others by, among other things: (a)
submitting, and causing the submission of, false and fraudulent claims to Medicare
and Medicare drug plan sponsors, through the AlC Pharmacies; (b) concealing, and
causing the concealment of, the submission of false and fraudulent claims to
Medicare and Medicare drug plan sponsors and the receipt and transfer of the
proceeds of the fraud; and (c) diverting fraud proceeds for the personal use and
benefit of the defendant and others.
Manner and Means of the Conspiracy
The manner and means by which the defendant and others sought to
accomplish the purpose of the conspiracy included, among others, the following:

27. JAMES LETKO, STEVEN KING, KATHERINE PETERSON, and

others on behalf of AlC, submitted credentialing paperwork and entered into

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.8 Filed 09/26/19 Page 8 of 17

pharmacy provider agreements with CVS Caremark, Express Scripts and other
PBMs.

28. The PBMs required a signed certification that the information provided
in the application materials are true and accurate, including but not limited to, who
maintains ownership or control over a specific phramacy and whether the pharmacy
provided services as a retail or mail order business.

29. The A1C Pharmacies consisted of under performing retail pharmacies
or new pharmacies that JAMES LETKO, as CEO of AIC, would purchase or create.
The AlC Pharmacies were subsidiaries of AIC.

30. JAMES LETKO, STEVEN KING and KATHERINE PETERSON
would conceal JAMES LETKO’S ownership of, or economic or controlling interest
in the AlC Pharmacies by installing nominee owners of the AlC Pharmacies to
deceive the PBMs into paying for prescriptions and agreeing to contracts with the
individual AlC Pharmacies they would have otherwise denied had they known that
the individual AlC Pharmacies were in fact owned or controlled by JAMES
LETKO.

31. KATHERINE PETERSON was named as the nominee owner of
Hudgins when in fact, the true owner was JAMES LETKO.

32. JAMES LETKO, STEVEN KING and others made material

misrepresentations on the applications submitted to the PBMs by registering the AIC

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.9 Filed 09/26/19 Page 9 of 17

Pharmacies as retail pharmacies, when in fact, all of the AlC Pharmacies functioned
as mail order pharmacies to deceive the PBMs into paying for prescriptions they
would have otherwise denied because the PBMs would not have agreed to contract
with the AlC Pharmacies under a mail order contract.

33. JAMES LETKO, STEVEN KING, RAMI LAZEKI, and others
submitted, and caused the submission of false and fraudulent test claims, via
interstate wires, using physician’s Medicare National Provider Identification
(“NPI”) numbers to determine patient eligibility for expensive prescription
medications and diabetic testing supplies, without the physicians consent.

34. JAMES LETKO, STEVEN KING, RAMI LAZEKI, and others
submitted, and caused the submission of false and fraudulent test claims, via
interstate wires, to Medicare and Medicare drug plan sponsors using Medicare
beneficiary information to determine patient eligibility for expensive prescription

medication, without the Medicare beneficiary’s consent.

35. JAMES LETKO, STEVEN KING, RAMI LAZEKI, PATRICIA
FLANNERY and KATHERINE PETERSON and others submitted, and caused the
submission of, false and fraudulent claims to Medicare and Medicare drug plan
sponsors, via interstate wires and on behalf of the AlC Pharmacies, for refills of

medically unnecessary prescription drugs and diabetic testing supplies that were

shipped without patient consent, including but not limited to dead beneficiaries.

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.10 Filed 09/26/19 Page 10 of 17

36. During the timeframe of the conspiracy, the PBMs terminated their
contracts with the AlC Pharmacies at varying times due to a violation of the terms
of the contract. Thereafter, JAMES LETKO, STEVEN KING, RAMI LAZEKI,
PATRICIA FLANNERY, and others submitted, and caused the submission of false
and fraudulent claims to Medicare and Medicare drug plan sponsors, via interstate
wires, by re-directing prescriptions, without patient consent, through AIC
Pharmacies or JAMES LETKO’S brother’s pharmacies that could still bill those
prescriptions to the PBMs.

37. JAMES LETKO, STEVEN KING, RAMI LAZEKI, PATRICIA
FLANNERY, and others did not collect co-pays from Medicare beneficiaries in order
to induce them to accept refills of expensive medications and diabetic testing
supplies without consent.

38. JAMES LETKO, STEVEN KING, RAMI LAZEKI, PATRICIA
FLANNERY and KATHERINE PETERSON and others submitted, and caused the
submission of, false and fraudulent claims to Medicare and Medicare drug plan
sponsors, via interstate wires, and on behalf of the AlC Pharmacies, in an amount

exceeding $80 million.
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.11 Filed 09/26/19 Page 11 of 17

COUNTS 2-6
Health Care Fraud
(18 U.S.C. §§ 1347 and 2)

39. Paragraphs | through 23 and 25 through 36 of this Indictment are re-
alleged and incorporated by reference as though fully set forth herein.

40. From on or about the dates set forth below, in the Eastern District of
Michigan and elsewhere, the defendant, RAMI LAZEKI, in connection with the
delivery of, and payment for, health care benefits, items, and services, did knowingly
and willfully execute, and attempt to execute, a scheme and artifice to defraud the
Medicare Program and Medicare drug plan sponsors, a health care benefit program
as defined in 18 U.S.C. § 24(b), and to obtain by means of materially false and
fraudulent pretenses, representations, and promises, money and property owned by
and under the custody and control of Medicare Program and Medicare drug plan
sponsors, by submitting or causing the submission of false and fraudulent claims to
the Medicare Program and Medicare drug plan sponsors, for prescription
medications and diabetic testing supplies that were not medically necessary.

Purpose of the Scheme and Artifice

41. The Grand Jury realleges and incorporates by reference Paragraph 26

of this Indictment as a purpose of the scheme and artifice.

I]
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.12 Filed 09/26/19 Page 12 of 17

The Scheme and Artifice

 

42. The Grand Jury realleges and incorporates by reference Paragraphs 26

through 36 of this Indictment as a description of the scheme and artifice.
Execution of the Scheme and Artifice

43. On or about the dates specified below, in the Eastern District of
Michigan, and elsewhere, RAMI LAZEKI, aided and abetted by others, and aiding
and abetting others known and unknown to the Grand Jury, submitted or caused to
be submitted the following false and fraudulent claims to Medicare and Medicare
drug plan sponsors for medications and diabetic testing supplies that were medically
unnecessary, in an attempt to execute, and in execution of the scheme as described
in paragraphs 25 through 36, with each execution set forth below forming a separate

count:

 

     

 

 

 

 

 

 

 

 

 

 

 

Alcohol Prep | 523797815
2 | Medicare D.J. 1/2/2015 | 1/28/2015 Par <0
3 | Medicare L.A. niar201s | 7/23/2015 | Alcohol Prep | 548643040
Pads 60
12
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.13 Filed 09/26/19 Page 13 of 17

 

   

  

 

 

 

 

 

 

 

 

 

 

 

4 Medicare LH. 2/16/2016 | 3/17/2016 | Alcohol Prep 624856151
Pads 83

5 | Medicare MP. 5/23/2016 | 6/6/2016 Lidocaine > oN 09

6 | Medicare DM | 6282016 | 7/8/2016 | Aleape’ Prep 7h T300s

 

All in violation of Title 18, United States Code, Sections 1347 and 2.

CRIMINAL FORFEITURE

44. The above allegations contained in this Indictment are incorporated by
reference as if set forth fully herein for the purpose of alleging criminal forfeiture to
the United States of America of certain property in which JAMES LETKO has an
interest.

45, Upon conviction of a violation alleged in this Indictment, JAMES
LETKO, STEVEN KING, RAMI LAZEKI, PATRICIA FLANNERY AND
KATHERINE PETERSON, shall forfeit to the United States any property, real or
personal, that constitutes or is derived, directly or indirectly, from proceeds and/or
gross proceeds traceable to the commission of such violations, pursuant to 18 U.S.C.
§ 982(a)(7) and 18 U.S.C. § 981(a)(1)(C), as incorporated by 28 U.S.C. § 2461,

including but not limited to:

13

 
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.14 Filed 09/26/19 Page 14 of 17

a. Ninety-Seven Thousand Five Hundred Thirty-Nine Dollars and Three
Cents ($97,539.03) in U.S. Currency from Signature Bank Account
#XXXXXX3045 in the name of US Medical, LLC;

b. Seven Hundred Thirteen Dollars and Seventy-Five Cents ($713.75) in
U.S. Currency from TD Bank Account #XXXXXX8327 in the name of
Livewell Holdings, LLC dba Great Lakes Medicai Pharmacy, LLC;

c. Three Hundred Seventy-Eight Thousand Five Hundred Fifty-Four
Dollars and Sixty-Five Cents ($378,554.65) in U.S. Currency from TD
Bank Account #XXXXXX7349 in the name of Great Lakes Medical
Pharmacy, LLC dba All American Medical Pharmacy;

d. One Hundred Sixty-Five Thousand Nine Hundred Sixteen Dollars and
Ninety-Five Cents ($165,916.95) in U.S. Currency from TD Bank
Account #XX XXX X9424 in the name of AiC Holdings;

e. Nineteen Thousand One Hundred Eighty-Four Dollars and Ninety-Five
Cents ($19,184.95) in U.S. Currency from TD Bank Account
#XXXXXX8319 in the name of Great Lakes Medical Pharmacy, LLC;

f. Thirteen Thousand Four Hundred Seventy-Nine Dollars and Seven
Cents ($13,479.07) in U.S. Currency from TD Bank Account
#XXXXXX7357 in the name of Great Lakes Medical Pharmacy, LLC

dba All American Medical Pharmacy, dba Brightsky Payroll.

14

 
 

Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.15 Filed 09/26/19 Page 15 of 17

46. Substitute Assets: If the property described above as being subject to
forfeiture, as a result of any act or omission of the defendant:

a.) cannot be located upon the exercise of due diligence;

b.) has been transferred or sold to, or deposited with, a third party;

c.) has been placed beyond the jurisdiction of the Court;

d.) has been substantially diminished in value; or

e.) has been commingled with other property that cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated
by 18 U.S.C. § 982(b) and/or 28 U.S.C. § 2461, to seek to forfeit any other property
of defendant, up to the value of the forfeitable property described above.

47. Money Judgment: The government shall also seek a forfeiture money
judgment from the defendant for a sum of money representing the total amount of
proceeds obtained as a result of defendant’s violations of 18 U.S.C. §§ 1347 and

1349, as alleged in this Indictment.

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson
Grand Jury Foreperson

15
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.16 Filed 09/26/19 Page 16 of 17

MATTHEW SCHNEIDER
UNITED STATES ATTORNEY

s/ Wayne F, Pratt

WAYNE F. PRATT

Chief, Health Care Fraud Unit
Assistant United States Attorney
211 West Fort Street, Suite 2001
Detroit, Michigan 48226

(313) 226-2548

wayne. pratt@usdoj.gov

s/ Malisa Dubal

MALISA DUBAL

Assistant Chief

Criminal Division, Fraud Section
U.S. Department of Justice

1400 New York Avenue, N.W.
Eighth Floor

Washington, D.C. 20005

(202) 660-2001
Malisa.dubal@usdoj.gov

Dated: September 26, 2019

16
Case 2:19-cr-20652-DML-DRG ECF No. 1, PagelD.17 Filed 09/26/19 Page 17 of 17

Case:2:19-cr-20652
Judge: Lawson, David M.
United States District Court Criminal Case Cov =_—‘ MJ: Grand, David R.
Eastern District of Michigan Filed: 09-26-2019 At 03:47 PM
INDI USA V. LETKO, ET AL. (AF)

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete n accurawsy in an respects.

 

 

 

 

 

 

Companion Case Information Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)": Judge Assigned:
[lyes No AUSA’s Initials:

 

 

 

Case Title: USA v. James Letko, et al.

 

County where offense occurred : Wayne

f :
Check One: X] Felony [Jmisdemeanor [Petty
¥_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon pricr complaint [Case number: j
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

September 26, 2019 ~ My lise bal 7

Date
Malisa Dubal, Trial Attorney

211 West Fort Street, Detroit, MI 48226
Phone: (202) 660-2001

Fax: (313) 226 - 9616

E-Mail address: Malisa.Dubal@usdoj.gov
Attorney Bar #; NY 4628171

 

1 Companion cases are matters in which it appears that (1} substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

5/16

 
